                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )       No. 3:06-CR-147
                                                      )       (Varlan/Guyton)
 DEX ANTOINE HINES,                                   )
                                                      )
                        Defendant.                    )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. The defendant filed a Motion To Continue [Doc. 271] to continue the plea

 on behalf of his client, defendant Hines, to November 10, 2008, the new trial date. The defendant

 has previously waived his right to a speedy trial and continues to do the same. The defendant states

 in his motion that the government does not oppose this motion.

        Evincing an agreement between the United States and defendant Hines to enter a change of

 plea before the District Court on the date of trial, defendant Hines’ Motion To Continue [Doc. 271]

 plea is GRANTED, and further proceedings in his case are continued to November 10, 2008.

        IT IS SO ORDERED.

                                                      ENTER:


                                                           s/ H. Bruce Guyton
                                                      United States Magistrate Judge




Case 3:06-cr-00147-TAV-JEM           Document 272         Filed 09/29/08     Page 1 of 1      PageID
                                           #: 396
